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          EXHIBIT 1·
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UNITED STATE DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------)(
LEEWARD CONSTRUCTION COMPANY, LTD.
                                                                     Case No. 1: 12-CV-06280-
                                                                     LAK/GWG
                                             Petitioner,             (ECF CASE)

                      -against-                                      Honorable Lewis A. Kaplan
                                                                     United States District Judge
AMERICAN UNIVERSITY OF ANTIGUA --
COLLEGE OF MEDICINE AND MANIPAL                                      AMENDED
EDUCATION AMERICAS, LLC f/k/a GCLR, LLC,                             PETITION

                                             Respondents.
----------------------------------------------------------------)(

         Leeward Construction Company, Ltd., by its attorney Lewis & Greer, P.C. hereby

petitions and moves this court pursuant to the Convention on the Recognition and Enforcement

of Foreign Arbitral Awards, 9 U.S.C. §201 et seq., for an order confirming a Final

Arbitration Award, certified June 22, 2012 and modified August 8, 2012, and for entry of a

money judgment against the Respondents for the amounts stated in the Award:


                                               INTRODUCTION

         1.       This proceeding arises out of a contract between the Petitioner and Respondent,

American University of Antigua -- College of Medicine for the construction of a medical

school in St. Johns, Antigua.

         2.       The General Conditions to the Contract contain an arbitration clause that

requires the parties to arbitrate any claim arising out of or related to the Contract in accordance

with the Construction Industry Rules of the American Arbitration Association. (An original

copy of the Contract containing the
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hearing is submitted herewith as Exhibit A. The arbitration agreement is set forth in Section 4.6

of the General Conditions to the Contract, which is at page AUA 000036.)

         3.       On February 3, 2011, the Petitioner initiated an arbitration against the AUA

with respect to claims arising out of or related to the Contract and on June 22, 2012, a panel of

three arbitrators certified a Final Arbitration Award, in favor of the Petitioner, exclusive of

interest at the rate of seven percent (7%) per annum as provided in the Award, in the amount

of EC $2,619,130.19, which converts to US $970,130.19. 1 The Final Award was modified on

August 8, 2012, to correct some minor clerical errors in the Award.                     (A copy of the Final

Award certified June 22, 2012 is submitted herewith as Exhibit B; a copy of the Resolution dated

August 9, 2012, modifying the Final Award is annexed hereto, as Exhibit C; a copy of the Final

Award as modified on August 8, 20 12 is annexed hereto as Exhibit D.)


                                                  PARTIES

         4.      Petitioner, Leeward ConstrUction Company, Ltd. ("Leeward" or "Petitioner") is a

corporation duly ·organized and existing under the laws of the Commonwealth of Antigua and

Barbuda, with office and principal place of business at All Saints Road, St. Johns, Antigua.

         5.      Respondent American University of Antigua -- College of Medicine ("AUA") is

owned and operated by the Respondent Manipal Education Americas, LLC f/k:/a GCLR, LLC

("MEA"), a limited liability company organized and existing under the laws of the State of New




1
 The Arbitration Tribunal awarded damages in Eastern Caribbean Dollars ("EC"). As of June 22, 2012 and
August 8, 2012, the conversion rate for Eastern Caribbean dollars to United States dollars is 0.3704 United States
dollars for each Eastern Caribbean dollar, and United States dollar to Eastern Caribbean dollar is 2.700 Eastern
Caribbean dollars for each United States dollar. See http://www.likeforex.com. For purposes of this
Petition/Motion, the Petitioner will reference the award going forward in both United 'States Dollars and Eastern
Caribbean Dollars.



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York, with an office and principal place of business at 1 Battery Park Plaza, 33rd Floor, New

York, New York, U.S.A. (collectively, hereinafter "Respondents").

                               JURISDICTIONAL STATEMENT

        6.      This Court has jurisdiction over this proceeding pursuant to the Convention on the

Recognition and Enforcement of Foreign Arbitral Awards, 9 U.S.C. §203 (the "Convention").

        7.      This Court also has jurisdiction over the proceeding pursuant to 28 U.S.C.

§1332(a)(2) in that the amount in controversy exceeds the sum or value of$75,000.00, exclusive

of interest, and costs, and is between citizens of a State and citizens or subjects of a foreign state.



                                             . VENUE

        8.      Pursuant to 9 U.S.C. §204 and 28 U.S.C. §1391(b)(l) venue is proper in the

United States District Court for the Southern District of New York because the MEA is a

resident of the District.


                                               FACTS

        9.      On September 25, 2008, Leeward, as contractor, and the AUA, as owner,

executed a contract for the construction of a medical school in St. Johns, Antigua.

        10.     The General Conditions to the Contract contain an arbitration clause that reads as

follows:

                § 4.6 ARBITRATION

                § 4.6.1 Any Claim arising out of or related to the Contract, except
                Claims relating to aesthetic effect and except those waived as
                provided for in Sections 4.3.10, 9.10.4 and 9.10.5, shall, after
                decision by the Architect or 30 days after submission of the Claim to
                the Architect, be subject to arbitration.




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                       § 4.6.2 Claims shall be decided by arbitration which, unless the
                       parties mutually agree otherwise, shall be in accordance with the
                       Construction Industry Arbitration Rules of the American Arbitration
                       Association currently in effect. The demand for arbitration shall be
                       filed in writing with the other party to the Contract and with the
                       American Arbitration Association, and a copy shall be filed with the
                       Architect. Location of any Arbitration will be Antigua.


                11.    On February 3, 2011, Leeward commenced an arbitration proceeding against the

        AUA with the American Arbitration Association International Center for Dispute Resolution

        ("AAA") tq arbitrate claims arising out of or related to the Contract.

               12.     Although the Arbitration Agreement provides for the location of the arbitration to

        take place in Antigua, the parties stipulated and agreed to conduct the arbitration in Puerto Rico.

                13.    Pursuant to the Construction Industry Rules of the American Arbitration

        Association, the AAA appointed a panel of three arbitrators to hear and detert.I1ine the claims.

                14.    The arbitration hearing at the Courtyard Marriott in Isla Verde, Puerto Rico took

        place from March 5, 2012 through March 9, 2012 and the arbitrators declared the hearing closed

        and the case submitted for resolution on May 22, 2012.

               15.     By Final Award certified June 22, 2012 and modified on August 8, 2012, the

        Arbitrators directed the AUA to pay damages to Leeward with interest at the rate of seven

        percent (7%) per annum as follows (Exhibit B, pp. 31-32):



                                                                                            Total Accrued
                                                                                 Interest      Interest
                                                                                Per Diem       Through
                                                                     Date       Amount in     August 14,        Total with
               Amount in US$/                                      Interest        US$/      2012 in US$/    Interest in US$/
   Award           EC$                    Comments                Runs From        EC$            EC$              EC$

a.) Interest     US$16,526.27/   This sum shall accrue interest   October 31,    US$3.17/    US$3,266.4 7/    US$19,752.75/
on the           EC$44,617.37    of 7% per annum from the              2009      EC$8.56     EC$8,710.78      EC$53,328.15
Payments                         date of issuance of
Due and                          termination of the Project,
Unpaid                           October 31, 2009.




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b.) Damages      US$86, 181.02/    This sum shall accrue interest         June 22,    US$16.53/     US$875.89/    US$87,056.99/
                 EC$232,670.13     of 7% per annum from the                  2012     EC$44.62     EC$2,364.95    EC$235,035.08
                                   date of issuance of this Final
                                   Award.


c.) Overhead     US$297,208.68/    This sum shall accrue interest       October 31,   US$57.00/   US$58,024.91/   US$355,233.59/
and Profit for   EC$802,399.25     of 7% per annum from the                   2009    EC$153.88   EC$156,654.71   EC$959,053.96
work                               date of issuance of
deleted,                           termination of the Project,
omitted or                         October 31, 2009.
modified.

d.)              US$176,968.62/    This sum shall accrue interest       October 31,   US$33.94/   US$34,550.09/   US$211,518.71/
Additional       EC$477,777.04     of 7% per annum from the                   2009    EC$91.63    EC$93,277. 79   EC$571,054.83
Preliminaries                      date of issuance of
                                   termination of the Project,
                                   October 31,2009.

e.) Change       US$70,453.85/     This sum shall accrue interest       October 31,   US$13.51/   US$13,754.91/   US$84,208.76/
Order Work       EC$190,210.19     of 7% per annum from the                   2009    EC$36.48    EC$37,135.28    EC$227,345.47
                                   date of issuance of
                                   termination of the Project,
                                   October 31, 2009. ·

f.) Retainage    US$218,566. 74/   This sum shall not accrue any         August 12,   US$41.92/       US$83.83/   US$218,650.58/
                 EC$590,083.00     interest. Leeward shall submit            2012     EC$113.17       EC$226.33   EC$590,309.33
                                   to AUA all contractually
                                   required documentation as set
                                   forth in Section 9.1 0.2 of the
                                   General Conditions. Leeward
                                   will have a term of not more
                                   than 30 calendar days from
                                   the date of issuance of this
                                   Final Award to submit said
                                   documentati.on. Once
                                   Leeward has submitted all
                                   required documentation
                                   accordingly, AUA shall
                                   release the retainage in a
                                   term not to exceed 30
                                   calendar days, upon after
                                   which such amount shall start
                                   accruing interest at the rate of
                                   7% per annum. If Leeward
                                   fails to comply with Section
                                   9.10.2, of the General
                                   conditions in the time hereby
                                   stated and granted the claim
                                   for such amount will be
                                   considered relinquished.
                                   Considering that this case is
                                   sub-judice; the herein referred
                                   notice may be made by
                                   counsel for Leeward to
                                   counsel for AUA , or by
                                   Leeward to AUA.




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      Total Award                                                         Total Accrued   Total with
       US$865,905.19                                                      Interest:       Interest:
      EC$2,337,756.98                                                     US$110,516.19     US$976,421.37
                                                                          EC$298,369.84   EC$2,636, 126.82




       16.     Leeward has complied with the terms and conditions of the Final Award,

including the requirements for the payment of contract retainage as set forth in paragraph l(f) of

the Award (Exhibit B, pp. 31-32). (An affidavit of compliance is submitted herewith as Exhibit

C.)

       17.     Upon information and belief, MEA, AUA's owner, is an agent and/or alter-ego

of the AUA as a result of:

       (a)     a disregard of the corporate formalities between the AUA and MEA;

       (b)     inadequately capitalization of the AUA and/or the AUA and MEA have

               intermingled their funds (A copy of a check from GCLR, LLC to Lewis

               & Greer, P.C. is submitted herewith as Exhibit E; Copies of wire

               transfer receipts from a New York bank account to Leeward are

               submitted herewith as Exhibit F.)

       (c)     an overlap in personnel between the AUA and MEA; and

       (d)     a common office space, address and/or telephone number for the AUA

               and MEA, in that MEA's New York offices are used to run the AUA's

               operation (Screenshots of the AUA's website are submitted herewith as

               Exhibit G.).

As a result of the foregoing, as an agent and/or alter-ego of the AUA, MEA is bound by the

Final Award.



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        18.   Pursuant to the Final Award, Leeward is entitled to Judgment against the

Respondents in amount of US $976,421.37/EC $2,636,126.82, which includes interest as

provided in the Award through August 14, 2012, no part of which has been paid, although duly

demanded.



        WHEREFORE, for reasons set forth herein, Petitioner Leeward Construction Company,

Ltd. petitions and moves this Court to confirm the Final Arbitration Award and enter a judgment

against the Respondent as follows:

              a.      Interest on payments due and unpaid in the amount of US $16,526.27/EC$

44,617.37 plus interest at the rate of7% per annum from October 31, 2009.

              b.      Damages in the amount ofUS $86,181.02/EC $232,670.13 plus interest at

the rate of7% per annum from June 22,2012.

              c.      Overhead and profit for work deleted, omitted or modified in the amount o

US $297,208.68/EC $802,399.25 plus interest at the rate of 7% per annum from October 31,

2009.

              d.      Additional preliminaries in the amount US $176,968.62/EC $477,777.04

plus interest at the rate of7% per annum from October 31,2009.

              e.·     Change order work in the amount of US $70,453.85/EC $190,210.19, plus

interest at the rate of 7% per annum from October 31, 2009.

              f.      Retainage in the amount ofUS $ 218,566.74/EC$ 590,083.00 plus interest

at the rate of7% per annum from August 12,2012.

              g.      Such other and further relief as the Court may deem just and proper.




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Dated: October 16, 2012
       Poughkeepsie, New York


                                               Veronica A. McMillan, Esq. (V
                                               LEWIS & GR!i;~~' P~.G .. .--
                                               Attorney for Petitioner,
                                               Leeward Construction Company, Ltd.
                                               510 Haight Avenue, Suite 202
                                               Poughkeepsie, New York 12603
                                               Telephone: (845) 454-1200

To:   Michael B. Goldsmith, Esq.
      Katherine Lieb, Esq.
      Sills, Cummis & Gross, P.C.
      Attorney for Respondents,
      American University of Antigua -- College of Medicine
      and Manipal Education Americas, UC flkla GCLR, LLC,
      30 Rockefeller Plaza
      New York, New York 10112
      Telephone: (212) 643-7000




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               EXHIBIT A
                Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page11 of 181




                . ·AMERICAN UNIVERSITY OF .TIGUA

                                    COLLEGE OF MEDICINE

                                               FOR

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i.J:
                                   PROJECT MANUAL
;f~i                                   (Contract).
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                        . '• .cc· ,.        i
  · ARTICLE 1 ~THE CONTRACT DuCUMENTS.                              .   r   "   .   .•   •   .,   .• '   .·\·   . ·.     .   .   i   •   •       ..•. ·

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        aiid. i(l~grnt~ ~""':: " r"t between the parti.:s hereto"and ~~pet:sedes prior tf~go~atJoqs, repf~enfutions or'' .
        agreements, either..written or oral. An enumeration of the Contract I:>ocunfents, other'ihan Modifications, app_ears in
        Aftide s:            ' ·                             ·'            ·              ,, .,                         ·




            ~  . Contract Time shall be measured frOm thO date of commencement.
        § 3.2. The                     ~{       ,~
                                                                                                                    '·

        § 3.3   Tk,contract~shall aBhiev~ Su~stantili.I C~mpletio11pf the entire Work not later than the three hl.\ndted and
        st~ty four (364) calendar days          from the dattof commencement, or as follows:                                                 "
~ (Par4crtt.Phsdeleted)
    :~                        ~t:      lj
                                                     Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page14 of 181
                           ~ ~.2 The Cont,ract Sum is haL       .pon the following alternates, if any, which are d~ ....... 0ed in the Contract
t~1,      ... ' I          D.Q_CllfT!¥nts .~n~ ar~)!~reby accep,ted byJheOwner:
                           (Pafizgr(Jphs deleted)
                                                                                                   ·            ~ _., .
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g;;,i                      § 4.3 Unit prices, if ~hy, are as follows:
                                                                                                                '




                                                     Description                                                                                                     Price ($ 0.00)

                           As contain~ in thd'~ills of Quantities (Volume I of Project Manual)                          01
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                           The, unit rates and oth~r,pric~§ in the Project Manu_al s~all determine the value ofcextta..work or changes as
                           aP,plicab!6. They shall 'p'e ~o,.nsidered complet~ inciudi'ltg as a~propriate all inate:r;ials 'and equipment, labour,
                           i~tallatlon costs, overhead and profit and shall he co'tlsidered uniformly for either addi_tions or deductions subjec~ to
                           th~ provisions of Article 7 of the General Conditions of the Contractor.                         '·                    ..·
                                                                                          ~ ~          ~            ·.                                                                        .
                           Note;_AJJlOU,nts included in ihe Contract Sum for Preliminaries/General conditions- 'Timer related recurring, setup
                           at;!,d lr1~g~~nt' Costs'are to be bll$ed on actu11ls provid~ tliese are approved one wee]< in adv_110ce by theO~ner.
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                             ARTICL~ 5. PAYMENTS ~/o;                                           ~··.


,.._{f'                      § 5.1 PROGRESSPAYM~NTS
                                        "      ,. ,,                              "

                          ~· § 5.1.1 Based upon· Applications for Payment submitted to the Architect by the Contractor and Certificates for
                             Payment issued by the Architect. the Owner shall make progress payments on account of the Contract Sum to the
                             Contractor as provided below and elsewhere in the Contract Documents.
                                                                                                                                                                                                                      '-:<

                           § s.i.2 The period covered by each Application for Payment shall be one ~lendar month en<ling on the last day of
                           the month, or as follows:         "'


                                                                       .,
                           § 5.1.3 Provided that an Application for Payment prepared by the Contractor, agreed with the.Owner and is receicved
                           by the Architect not later'than the Seventh (1h) day of a month, the Owner shalkmakerpayment to the q>ntractor
                           n~t,!ftt~ than the twenty second (22nd) day of the same' month. If an Application for Pa~,1;1,t is te;ceiv¥ by ~
                           Arc)iiteet after the application date fixed above, payment shall~ made by the Owner not later than fifteen (J 5
                    . , )~Y\~er the Architect receives tM Application for.Paynlent.                                                                                             ~                     ' ,'
.~1                                        "'
                           § 5.1.4 Each Application for Payment shall be based on the most recent schedule of values submitted by th~,
                           Cpn~Ctor in acp,ordance wjth the Contract Documents. The schedule of values shalli!Jiocate the entire t:ontract
()                         Sum among th~ various portions· of the Worts;, Tlie sc.ttedule of values shalt,t;>C' ptepared in s~~h f9fr' and s,upport&l
                           by ~uch data to substantiate its accuracy as the Architect may require. This sctiMule, unless obJected to by the
                           Ai'Cfiit&tl~%hall be used as a basis for revie~ing ~"contl:ctor's Applic~tions for Payment.                   ·

                           .§ 5.1.S ~PI?Iications forPayme~t s~all indicate the meas~~ works of:each B/Q portion of the Work a"~ ofthe·end of~:
                          1 the penod &vered by the·Appbcatl~~ for Payr&nt.          .
                               ~                                        w                                                      .
                            §J~.6 Subject to. other provisions of tbeQmuict Documents, the amount of each progress payment shall be .
ti    t           "' "      comp.llted as follows:                                                                                    ·                                                   ~                     •
~J.                                        ~                                          ~
                                                                                                           ..            &
                                                                                                                                                             =           •                        ~

                                                      .1        Take that portion of tile Contract Sum properly allocable·to<CompJeted Work as determined by w
                    ;:;                                         myltiplying the percehtage completion of each portion of the Work by the share of the,Contract Sum
                                                                allocated to thatp6'rtion ofJhe Work in' the schedule of values, less retainage of five ( 5% ),
                                                                Pending final determinatio~~f cost to the' Owner of changes in the Work, amounts not in dispute
                                                                shall be included as provided i~ section 7 .3;8 of AlA Document A20 1-1997;

                                            ., i''              Add that portion of the Contrac~ Sum properly allocable to materials and equip'l}ent delivered \!nd .·
                                                                suitably stored at the site for s~psequent incorporation in the completed~onstruction,(or, if approved
i:).                                                                                                                                                                    ~




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                                        retainage of five ( 5 % }; .
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                                 .3     Subtra~t thsasgregate ~f previous payments made by the·Owneri a~d                                                                                                                                    '·
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                                 .4     Subtract>;mo&o&:'jf any, for which,~e Architect has withheld or n~'liified a C!!rtifi9ate for Payment
          ,,                            as provide'd'lti'Section 9.5 of AlA Dooumel)t A201-1997.           ·.· ,,           ·..
:\¥:                                             . '' '"·; "~..-"'-   ,·~    _;,:·                                                                  ;{"''                .                                                      ·~                               .

                 § 5.1.7 'J'p~ R.fQ~ress p!i>'nJ~1L~in~unt determin~ in a~r~ance ~ith S,ection 5.1.6 sh~IJ. be fu~her modified under
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                                   ninety teveh 'and ~ne half p~r¢nt (97Wfo) of the Coriff~ctsu·m; leSs such amounts;~· the Architect
                                 • shall~ft5ttfiilf'g'ror ~cdkpJ!~~Work, retai~age7applicable t~ §.Uch w.otk and ~~!ftlf4 Cl~ms; an? ·.
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                           . ARTICLE~,                                 TERMlNATION.¢RSUS~ENSION                                                                                    ·..               ... '' ···<: '·.. .'· · ·.                    ·. ·.··:'·.·'.
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                             ARTICLE 7. :MISCELLANEOUS PROVISIONS                             ·- ,,    . -·          :    , •·   .,
                        '"'"'§ 1.1j't!t~retefc!retic~ is.iha"d'6 in "thi·~ 7\:~¢m~rit to aprovislon(lf'XIA ~urnent AZ01-1997 or ~other Contract
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      ;.,   .                   below, or In the absence th~rc:pf, .~t the Jegal rate prevathng from Ume;to time at the place'where tho Project is
l~~                 ,,          'located.,,                    ,, ,, '' "'  "                                                                                                                   ,.                               ':
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                                  (Insert rdtt of interest agreed up'On, if any.)

                                                    ) per annum
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                                 tiiiil. otHer rec~:~k:ii!Jns a(the Owner's and Colllractor's pHncipal places ofhusiness, ·the lodtticJ'n ofllii Project and
                                else~h~re by a.tflct tlie v'iztiditY of l~ls provision. Legal advice should be obtained with respect to deletions or
                                mo'Hijications, and also regarding requiremenrs such as written disclosures or waivers.)

                                § 7.3 The Owner's representative is:
                                (Name, address and other infonnation)

l•'"',.'i                           Lt,Col Roche Anthony/ Mr. Corey Greenberg



                                    § 7.4 The Contractor's representative is:
                                    (Name, address and other inforntation)

                                    Mr. Ncll Dickinson



                                    § 7.5 Neither the Owner's nor the Contractor's feprese~tative shall be changed without ten days wntfbn notice to the
                                    other party.
                                                         ~
                                    § 7.6 Other provis~~ms:
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                                    ARTICl!:,8 ENUrfllg~TION OF CONTRACTJ)pcUMENTS                   ·                         . ·
                                    § 8.1 ~Contract Documents, ~tfept fof'Modifi.9ations issued a&r execution o~ this Agteement, are enumerated as
u                         ·,~       follows:
                                     m :.z
                                                                  ~                                            ~ .~


                                    § 8.1.1 The A~ment is this 'executed 1997 edition of the Standard Form of ~ment B~~n Owner and
                                    Contractor, AlA'Document A I 01-J997.

                                    §8.1-t,The General Conditions are tho 1997·edition of the General Conditions of the Contract for Construction, AlA
                                    Docu~nt                           A201-J997.                                                      ·                ·                           ,1                                        ·                                             ·                               ·




                          I.        § 8.1.3 'Ilie Suppleinetttary and oilier Conditions of the Contract m those contained in~ Project Manual dated
                                    September 2008 , and are as follows
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                                                                       t A101~-1!!97. Col')'l'!g!lt .¢~;1915. 1,$18, 1925,.1937, 1951,1958,1~1. 1963,1967, 1974,19n,1987,1991 and 1997 by The American
                lnlt.                                                    tects. All~ reserv~. WARN(NG: This AlA"' DF,meot Is profected by u.s. Copyr!Qtit Law and International Treettes. Mnauthorlted
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                                           Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page17 of 181


                                           ~~'tj~;~~~ENTARY~CONnrn6~S-clause t-2~L '~~~f                                                              ~fBs
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                           § s.1.4fli~~~p~ifications ~,,,~ose contaif~ed     in the                 Proj~t ~;~u"a{d,~ted
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                           (E~flz,tir ![st the Specifica~ions her~ or referto exhibit attli~hl,l!, t6Jhis Agr~~metii.)' -.;· '
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                         (Table deleted),- .        .                                 , .
                         § 8~1·5 Th~ Drawings are a8 folloy.r:;, an<:l_ ate dated unless a,diff'!'rent date is shown below:
                      , (Eitlt~list the Drawings het;e, or'FeferfO an exhibit attached to th{s Agreement.)
                        'tp3~R T.£?.:11-JST OF DRAWINGS' conta.ined in thePROJEc:T''f1A_ !;IDAL
'·.\.,_:/              I (Taole'd~l{!,ted) ·· .       ··
                        ,~ ~.1~ Tfie'hddenda. if any, are as follow~~
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                                            •Number                                          Date                                             ~ages
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                            Portiops of Ad4enda relating to bidding requirements are not part of tlf~ Contract Documents unli%s ~-bi~_ding
                           '~lJJr~.wents                 we
                                                       also enumerated i~ th!~ Article 8.   :      ,,,               ' '·    r                                      J   •   ')·   ••.



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                            § ~.1.7 Oifterdoou:n~ntS, ifa~y, t<mning p~ ~fthe Contract Doq,mc:nts are as fqllo~:                ,}'    , , .
                            ([Jst here any addztzonal dcx;~~nts that are mtended to fonn pan of the Contract Documents. AlA Doc~&ment A~Ol·
                            1997 provides that bidding itqTlirements such as advenisement or invitalion to bid, Instructions to Bidders, sample
                           forms and the Contractor's bid are not part of the Contract Documents unless enutiterated in' this Agreement. I"hey
                            shOuld be listed here only if in,tended to be pan of the Contract Docunitnts.)
                                           ~iM                              .~




                           Bills of Quantities
                           Advance Payment Bond (if option accepted by owner via change order)
                           Perfonnance Bond (if Option accepted by owner via change order)


                           SUPPI.E4~ARY CONDmONS

                            1.               GENERAL:

                                             The oenc:ral Conditions of the Contract shall be A.I.A. Document A201, 1997 Edition, except as hereafter
                                             modified by these Supplementary Conditions.


                           2.                Reference Article 2, Clause 2.1.2:

                                             Delete Clause 2.1.2 in its entirety.


                            3.               Reference Article 3, Clause 3.6 ADD Sub-Paragraphs 3.6.2-5:

                                             3.6.2            TM project is not subject to Antiguan import permits and payments of custom duties upon goods,
                                                              material and equipment delivered for use in the worlc. This includes any applicable CST.

                                             3.6.3            The Contractor shall be responsible for obtainingclearanct through Customs for any such material
                                                              and equipment purchased by him for use~ in the works and the Owner shall endorse such clearance
       ,.,                                                    requirements.
   ~-


                                                 3.6.4        The Contractor will be responsible for handling or moving oeqoipment and/or material to the job ·                               ~-
                                                                                                                                                                                               ._~
                                                              site 'except those purchased directly by the Owner.                                                                                 .
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                                      4. ''         . · Ref~re~~ ~rt{cle 3, Clause 3.7 Sub-Pifragiaph 3.7.1:
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:4J,                                                          3.7.1                                        The O~er. ~ill sec~'re and pay for !h.~ QqV:ehtment Building Permit. AIC~t!l~r permits
                                                                                                           and Jicen~s bssary for the prof%r ~~¥u~qn and completion of the work shall be
i~~it                                                                                                      secured and,paid for and maintained as a~t£si)9nsibility of the Contractor.
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                                                                                                               Unless otherwise provided in the CoilJcict DoCum,~ts:
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                                                                                                               .1                         materials and,equipment uhder'lm allowa~ shall be select~ proni~tly by tli
                                                                                                                                          Owner to avoid delay in the Work; ., tt,                                                                ~
 ~rk""                                                                                                         .2                         allo:vances shall cover q.e cost to the Contractor, less any applicab!e"trade
             I                                                                                                                            di~}:oJ:l't• of the m~~erials _and equipment required py the I!Jlow~nce peliver:ed at
                                                                                                                                          the si~ all applicable duties and tax'es together.with the Contrictor's eosts
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                                                                                                                                          for  Unl&\,ding'and   handling On the'"site, labour         inst~llatiOn  CQsts, OVCfu(f;\\d,pfOfit
                                                                                                                                           -~    Jl   ..                                       ../i..     .-"> ;        :;;'.,. q; .,., ' ,...... & -~·" ,.,, ...
                                                                                                                                          and other expenses•. ·Where' such allowances cover work to b¢ earned out by
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                                                                                                                                          s~ialist sub-contractors, tl}ese ~16Jds shall includl tfle han4!ing ''~~s~ on
                                                                                                                                          tli~Sitri, labour installation costs, o~. ptofi~.lffid ottfk- riipl~_ of 1uch
                                                                                                                                     7<'                                                 ~ ~f-5 ¥"~        'f * .. ~-...                 -- :['~~-=... ~ ':~::.~
                                                                                                                                         ·sub-contractors.                       i>.                             '\  "'                  "'         "   ·' ,, ··::

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                                                                                                                                          reflect the d1fference . be~n actual costs 'and the allowances                                                          !JSC
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     ~!,;;o'ft;                                                                                                                            3.8.2.2.                             .         ~            .•;                                  i;l           .               ,,;.•   ,.         "   "'
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                            "
                                                                                                                                           the Contractor shall include for carrying. out works un~er a eas!l' Allowanse in
     u                                                                                                                                     his Construction Schedule.                                                                                 <l            ·             •·•                      ' !«   ··
     \)                               6.                      Referei\ce Article 4, Clause 4.3.9:
                  :1:                                                   i!i;
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     '-•                0                                     Delet~ Clause 4.3.9 in its Cl}tirety.
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                                                                 ;t:                   ~~   -:7.                   u:<> ....   ~8          ,._,                                   '!t                                                                 •       ""~
                                            g   "                ;<)                ~          '<s             ~-:! .?         ·    &J                          *f              ?1
                                :~
                                      7.         "           'Rerer(nce Article 4, Clayse 4.4. Amend Sub-Paragraphs 4.4.1, 4.4~5 & 4.4.6:
     :l.~                                                        ~             .   ~.i;j           u                                                                                                                                                                                                                          ;;.~

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                                                              Delete all references to "Mediation".                                                                                                                                                                                                                          ,IJ~,.       ill
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                                       8.                   "'Reference
                                                              (<;
                                                                        Article 4, Clause 4.4-Ddete Sub-Paragraph 4.4.8.
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                               1,9·   :$;'·~~~~f¥£,~£:i€.~i·tic"le 4, Clause 4.6.1~~~ fjub-Parag~I.J/t$ 4.6J~ ~.6i:                                                                                                                                  .        ·.           . .· . .
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    ~J··             \             ;, ·~L6.:                                              Delete "not resoi~~ by mediation• rn;m 'first sei~ce.

                               11.         '""Reference Article 8, Claus~ 8.~.2
                                              <Y.             ,_                                                -''   '•
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                                                    8.2.2 :; Delete references to 'mgchanics lien'
                                                                                                                      •     r



                               12.        ' · Refer:e~ce 8.3,
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                                                              aause 8.3.1
                                                              -,   "-'

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        :.'f
                                                    D~lete reference to "_Mediation",
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~)),           ,~~             13.                  Reference Article 9, Clause 9.6 ADD Pa~_graph 9.6.8:
                                                                                                                                         "
ut                                              9.6.8                                        The Contractor, ~pori ~ipt _of each progress paynf~nt from the Owner, sha!l p,ro'tnptly
                                                                                             furnish theiOwner ~ith &~·receipt indicating the,am<futit~paid and the aate p'ayir(~Cwas
                                                                                             receive'd.                                              -                        .
~

t;#:                           14.              Reference Article 11, Clause 11.1 Sub-Paragraph 11.1,~1.6:
&.,~~                                           Delete'as written and insert in lieu thereof the following:

.JJ.                                                11.1.1.6                                 Claims for damages because· of bodily injury, death of any person or property ttamage
                                                                                             arising out of thS ownership, maintenance or use of any motor vehicle either on or off the
    '~ ~                                                                                     site including motor vehicles usi.ng public highways; and                           ·
~                                                                                                     r.
                               IS.                  Referen~ Article llt Clause 11.1 ADD Sub-J>aragraph 11.1.4:
~
                         ,,                         11.1.4                                   The Contractor shall in addition to the foregoing of Article I'1.1 maintain such insurances
'.iii~
                                                                                             as required by the Laws of Antigua and the Owner.
~l;
  .                                                                                          .I                 The' Contractor shall maintain Uability cover at not less than the following
                                                                                                                limits:
&!~
                                                                                                                Bodily Injury & Accidental Death:
                                                                                                                                 Bdil,ooO,OOO per occurrence.
                                                         ;,

                                                                                                                Property Damage: E0$1 ;500,000 ¢r occurrence:
                                                                                                                                                    •. ~j




                                                                                             .2                 The Contractor's liability insurance shall also include the inte~ts of the Own¢r
                                                                         t-:.                                   and un-named subcontrayjOrs in the work. The above n9,ted interests to be
                                                                                                                endorsed on all other fk>licies of insurance maintained by the O>ntractor in
                                                                                                                respect of the Work.

                                                                                             .3                 The Contractor's liability insurance shall incorporate· the following "cross
     .                                                                                                          liability" claust,into the policy wording:
ij)j(l
.
"-

                                                                                                                "It is hereby agreed and declared that for the purpose of this policy each of the                                                                                                 ~
                                                                                                                parties comprising the insured shall be considered as a separate and distinct unit                                                                                                '..
                                                                                                                and the words "The Insured" shall be considered as applying to each party in the
                                                                                                                same manner a.~ if a separate policy hld Seen issued to each of the said parties
                                                                                                                        ""'                     .              .             ~         "'
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               2                              OWNER

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               4                              ADMINISTRATION OF THE CONTRACT
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                  ContractDoCUm~ntsfana shall not unrea.Sonably e~cumberthesite with materials or eq~ipment.                        "'·
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                ,, § 3.14~ CunlfiG AND PATCHING             ~'                                                  .~ "
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                  § 3.1~ilhe Con~~t~r sruiu not damage or endanger portion of the'Work or fully or partially-completed                     a
                  con~truetipn oft~ OW!)er or separate contractors by cutting, patching or otherwise altering such. construction; or by
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                  ex~phvith ~tteh consent_,§f th~ Owner and of such separate contractor; such con~W shall not be unreaso.Mbly.
                  withheld. The Cqntractor shall not unreasonably withhold from the Owner or a se(>aiate contractor the Contractor s 1.
                  conJ.Bfit !p cutting~or other»'ise altering the Work.                                                               '

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  ~               § 3.~5 CLEANING UP
                  § 3.15.1 The c6'ntractor shall k&p the premises and surrounding area free from accumulation of wasfe materials or
                  rubbish caused by operations under the ~ontract At completion of the Work. the Contractor shall remove from and
                  aboq! the,Project waste materials, rubbish, the Contractor's tools, construction equipment, machinery and surplus
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                  ~·                                                                                                                                                                    '
                  § 3.15.21f the Contractor fails to cleim up as provided in tit¢ Contract Documents, the Owner may do so and thO cost
                  thtreof shall be' charged to the Contractor.                                 .,


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                                    ~~§ 4.5.2 J)l~p~j!ties shall eq,dea~or to resolve their Claims by mediation which, unless ~;parties mutually agree
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                                     su~w·issioll of the qaim to the Architect. be subject to arbitration. Prior to arbitration, thO parti& shall~9.~vor to                                                                                                                                                                                                                                                                ,,
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                                       applicable statute of limitations as determined pursuant to Section I3.7.                      .
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                       § 7,3.3 If tlt~,C,onstruction q        rrective proyides for an adjustment to .the Corl                          ;:,<tm, the adjust!l\71Jl shall be
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   p~yment as the Owner or ArJ.             ;t .may   require, such          as copies of requisitions fron\           )contractors and material
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                   § 9.8 ~UBSTANTIAL COMPLB,            .                     . •·                       l,      ..
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                  . the ,final Certifi~ate is due ar~    ,~tile. The Architect's final Certificate for PaymL       ill c9nstitute a further      .
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                       § 11.3.2 To \IJe ~x.~nt damages are cover:e<f by Project ManageinentJ'(oteetiveLiability insurance; theOvmer,
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                     DocumentS may be sought to.            ..reed, nor to the time within which proceedings!        oe commenced to establish
                   . the Contnl.¢tqr's liability with 1-._pect to the Contractor's obligations other.than ipe::bh,Yally io correct theWofk.
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               EXHIBIT B
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               EXHIBIT C
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                                           Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page125 of 181


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                                                      Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page126 of 181




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                    t~e~~r.~·-h~~-~ 1i9t :_pt.qJliq~. ¢.Y!9.~rJ~~.tl.l~titfiAt(s~~d                                                                     jJs ·o.bliQ,~!!Pn.s ur.:d~.r, $~gtipn·.~l1:P~f 9-f
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          · · .. Tbl~·e.~n~J,<t~t~rw~~;~;jh;a.~~:f!l~.l\ll$T:~rror··wa~:rmut.uatry a¢kn9wJed~~~tb~·:~pth:P~[l!~~\?n9· ·.
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               ·.·::.cqn~ll!~~~t.h~t.;,!bJ~J~$.lJ~~.h.g"l.d..4~;J~§_QIV~q··~.l;lt~ig~iQfth.~cqnt~xt9fJhi~1*Wi.tt~li9.~I .•.. ·
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·. ·.· ·• .::~q~::.;;~:·:!~:; ~~=:~:~~;t :::~~=w~:~~:!~:r:~;~~. .
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Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page135 of 181




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                EXHIBIT E
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                EXHIBIT F
             Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page140 of 181
                                i_____ _


 Alana Bartley

 From:            Corey Greenberg [cgreenberg@AUAMED.ORG]
 Sent:            Friday, October 31, 2008 1:1 Q PM
 To:              Neil Dickinson
 Cc:              colantony@auamed.net
 Subject:         FW: Leeward wire transfer
 Attachments: 20081031115416027.pdf
 Neil,
 Attached is documentation of the transfer. It was slightly delayed this morning because our accounts staff
 found some open bills you had not included, albeit quite small sums, they have been added to your
 figures presented to us. Call the bank and get your money.

 Cheers

 Corey Greenberg
 Chief Operating Officer
 AUA College of Medicine
 C/0 Greater Caribbean Learning Center
 New York, NY 10005
 Tel: 212-661-8899 ext. 121
 Fax: 646-390-4943

 From: Prabhu Marudheri
 Sent: Friday, October 31, 2008 1:06PM
 To: Matt Petersen                       .
 Cc: 'Roche,Antony'; Corey Greenberg; 'Anand Sudarshan [MUL]'; Shriniwas Joshi [MUL]; Lt. Col P S Shetti
 [MEMG]
 Subject: Leeward wire transfer

 Matt,

 An amount of US$500,577.42 was wire transferred to Leeward. As discussed, I wired directly into their
 account instead of routing it through our ABIB bank account. The confirrpation is attached for your
 reference.

 Let me know if you have any questions.

 Thanks.

  Prabhu Marudheri
  Director of Institutional Development and Financial Controls
  American University ofAntigua
  College ofMedicine C/0 GCLR LLC
· Desk: 212-661-8899 Extn 171
  Cell: 516-3 69-8406
  Fax: 646-514-1878
  Email: pmarudheri@auamed.org


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Main Menu > Transfers and Payments >
DOMESTIC WIRE USING MODEL

                            WIRE:     From Account: 9975368519    Currency~    US Dollars
                           Status:    processed - Confirmation Number is 3050444825.
                         Wire Fee:    $12.50

                         Beneficiary                                        Bank
              ANTIGUA BARBUDA INVESTMENT BANK                  Name: BANK OF AMERICA, N.A., NY
                                                                ABA: 026009593
                                                             Address: New York , NY

              Beneficiary's Account number: 6550-6-52034
               Amount:           $500,577.42                      Special Instructions:
               Date of transfer: Immediate                         Further Credit to: ABI Bank
               Description:      bill#11 and retentions release    Acct Name: Leeward Construct

                                                                   Account#:300118635




                                                                         EC$                   US$
                    New Campus Phase II Foundation retention                      78,492.25      29,198.81
                    Sewer Treatment Plant                                          19,603.16      7,292.30/
                    Temporary vendor pads                                            889.15         330.76
                    Culvert pavings                                                  327.77         121.93
                    Transformer pads                                                 184.10          68.48
                    Phase I foundations                                           138,451.98     51,503.60/
                    Sundry dayworks                                                 4,604.36      1,712.80/
                    Timber railings to culvert                                       788.60         293.36
                    Running bill # 11                                         1,102,310.84      410,055.37/
                                                                              1,345,652.21      500,577.42
           Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page143 of 181

Alana Bartley

From:           Prabhu Marudheri [pmarudheri@AUAMED.ORG]
Sent:           Tuesday, November 04, 2008 10:48 AM
To:             Neil Dickinson
Cc:             Corey Greenberg; Andy Green; Robert Winwood; Peter Netherclift; Roche,Antony; Matt Petersen;
                Lt. Col P S Shetti [MEMG]
Subject:        RE: [Junk released by Allowed List] RE: Release of interim mobilisation advance
Attachments: 20081104104308344.pdf
Neil,

Please find attached wire transfer confirmation for the EC$1 million. Let us know as soon as the funds are
credited into your account.

Thanks.

Prabhu Marudheri
Director of Institutional Development and Financial Controls
American University ofAntigua
College ofMedicine C/0 GCLR LLC
Desk: 212-661-8899 Extn 171
Cell: 516-3 69-8406
Fax: 646-514-1878
Email: pmarudheri@auamed.org


From: Neil Dickinson [mailto:neil@leeward.ag]
Sent: Tuesday, November 04, 2008 10:34 AM
To: 'Roche, Antony'; budroche_SO@yahoo.com
Cc: Corey Greenberg; Prabhu Marudheri; Andy Green; Robert Winwood; 'Peter Netherclift' ·
Subject: [Junk released by Allowed List] RE: Release of interim mobilisation advance

Col. Antony

Without prejudice, following our meeting this morning, I can confirm that EC$ 1,345,642.22 has been
received into our account at approximately 10:00am this morning.

Additionally, I can confirm that providing AUA can provide confirmation of the transfer of EC$
1,000,000.00 by noon today Leeward will commence re-mobilisation of the site on Wednesday sth
November 2008.


To confirm our conversation Leeward still require AUA written response to our email sent Thursday 30th
October 2008, a copy of which was hand delivered today.

I await AUA's response soonest.

Kind Regards

Neil Dickinson
Pmjects Director.
, .LEEVfARD·coNsrRucrtoN coMPANY LIMITED.
AU SAINT'S ROAD, P.O.BOX 14oo, ST. JOHNS, ANTIGUA
MAIL: neil@leeward.ag



 10/10/2012
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OFFICE: (268) 462-0071
CELL: (268) 729-0072
FAX:    (268) 462·4868




From: Roche, Antony [mailto:colantony@auamed.net]
Sent:   03 November 2008 22:37
To: Neil Dickinson
Cc:   Greenberg, Corey   Ext.;   Prabhu Marudheri
Subject: Re: Release of interim mobilisation advance

Dear Neil,

This refers to our discussion on the said subject. I am pleased to inform you that the Management has agreed to
release an interim payment of EC$ 1,000,000.00 (EC$ one million only), towards mobilization advance pending
the furnishing of the mobilization bond by LC. Please intimate the date of resuming work at site to enable our
Management to deposit the funds into you're a/c within 24 hours.

An early confirmation is requested.

With best regards


Lt Col Roche Antony
General Manager- Project
AUA, College of Medicine
email: colantony@auamed.net
Tel: 268 481-8918
Mobile: 268 764- 4915
Fax: 268 481-8924



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Main Menu >Transfers and Payments>
DOMESTIC WIRE USING MODEL

                           WIRE:     From Account: 9975368519 Currency: US Dollars
                           Status:   Processed -Confirmation Number Is 3090229887.
                        Wire Fee:    $12.50

                         Beneficiary                                        Bank
              ANTIGUA BARBUDA INVESTMENT BANK                  Name: BANK OF AMERICA, N.A., NY
                                                                ABA: 026009593
                                                             Address: New York, NY

              Beneficiary's Account number: 6550-6-52034
               Amount:           $371,996.13                            Special Instructions:
               Date of transfer: Immediate                               Further Credit to: ABI Bank
               Description:      Interim mobilization advance            Acct Name: Leeward Construct
                                                       .. '
                                                                          Account#:300118635
                                                                                                             I



                                                       ~--·-~---····--------·~-----·-'"·---·-- .. ··-·······-·" ......1
                                          Model Name: I LEEWARD CONSTRUCTION
                                                       l.---------·--··-·----~--             . -·---------------




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              Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page146 of 181
                                [_
Alana Bartley

From:             Prabhu Marudheri [pmarudheri@AUAMED.ORG]
Sent:             Wednesday, November 19, 2008 12:44 PM
To:               Neil Dickinson
Cc:               Neil Dickinson; Corey Greenberg; Matt Petersen; Yves YG. Georges; Roche, Antony
Subject:          RE: Leeward Construction Comapny Ltd.;Payment # 12
Attachments: 20081119124032255.pdf


      Neil,

      Wire transfer towards bill #12 has been completed- attached is the confirmation. Please let me know
      if you have any questions.

      Thanks.

      Prabhu Marudheri
      Director of Institutional Development and Financial Controls
      American University ofAntigua
      College of Medicine C/0 GCLR LLC
      Desk: 212-661-8899 Extn 171
      Cell: 516-369-8406
      Fax: 646-514-1878
      Email: pmarudheri@auamed.org




      From: Corey Greenberg
      Sent: Tuesday, November 18, 2008 9:44PM
      To: Prabhu Marudheri; Matt Petersen; Yves YG. Georges; Roche, Antony
      Cc: Neil Dickinson
      Subject: FW: Leeward Construction Comapny Ltd.;Payment # 12



      Please accept t(Jis email as authorization to pay Leeward construction a total invoice amount of EC$
      856,354.74 broken as payment#12 invoice amount EC$718,588.47 and two outstanding ABST
      invoices #12 EC$ 107,788.27 and #10 EC$ 29,978.00 Please code to new campus construction
      phase I. All wiring information is on file.

      Regards,




      Corey -Greenberg

      Chief Operating Officer

      AUA College of Medicine

      C/0 Greater Caribbean Learning Center




10/10/2012
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                          (__   .




   New York, NY 10005

   Tel: 212-661-8899 ext. 121

   Fax: 646-390-4943


   From: McCary, Kibian [mailto:kmccary@auamed.net]
   Sent: Monday, November 17, 2008 9:42AM
   To: Corey Greenberg
   Cc: Roche, Antony; neil@leeward.ag
   Subject: Leeward Construction Comapny Ltd.; Payment# 12




   Dear Mr. Greenberg,

   Please find attached Payment application #12 of Leeward Construction duly passed for payment
   amounting to BCD $856,354.74 including ABST.

   Regards,

   Miss. Kibian McCary

   Construction Assistant

   American University of Antigua, College of Medicine

   Jabberwock Rd.

   P.O. Box W-1451, St. John's,.Antigua

   Tel: (268) 481-8916

   Fax: (268) 481-8924

  email: kmccary@auamed.net




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                                                                            l_                    Page 1 of 1

~
Main Menu > Transfers and Payments >
DOMESTIC WIRE USING MODEL

                             WIRE:     From Account: 9975368519 Currency: US Dollars
                            Status:    Processed~ Confirmation Number is 3240241845.

                         Wire Fee:     $12.50

                         Beneficiary                                       Bank
              ANTIGUA BARBUDA INVESTMENT BANK                 Name: BANK OF AMERICA, N.A., NY
                                                               ABA: 026009593
                                                            Address: New York, NY

               Beneficiary's Account number: 6550·6-52034
                Amount:           $318,560.65                     Sp-ecial Instructions:
                Date of transfer: Immediate                        Further Credit to: ABI Bank
                De,scrlption:     running bill # 12                Acct Name: Leeward Construct

                                                                   Account#:300118635
                                                                                                     -   . ·u-   -   -- -

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                             ~---------


Alana Bartley

From:           Prabhu Marudheri [pmarudheri@AUAMED.ORG]
Sent:           Wednesday, April22, 2009 10:12 AM
To:             Neil Dickinson
Subject:        RE: LEEWARD CONSTRUCTION;PAYMENT APPLICATION# 17;PAGES1-20
Attachments: New Microsoft Office Word Document.docx
Neil,


The wire transfer has been initiated on 20th and the wire request copy is attached. Do let me know if
you have any questions.


From: Neil Dickinson [mailto:neil@leeward.ag]
Sent: Wednesday/ April221 2009 9:55AM·
To: Prabhu Marudheri
Subject: RE: LEEWARD CONSTRUCITON;PAYMENT APPLICATION# 17;PAGES1-20

Hi Prabhu

Any news on the transfer document ... ?

Kind Regards

Neil Dickinson
Ma_f1aging_ Director.      _                         ·
, LEEJM.RD'coNsrnucrtoN coMPANY LIMITED.
All SAINT'S ROAD, P.O.BOX 1400, ST. JOHNs, ANTIGUA
MAIL: neil@leeward.ag
OFFICE: (268) 462·0071
CELL: (268) 729-0072
FAX:    (268) 462-4868


From: Prabhu Marudheri [mailto:pmarudheri@AUAMED.ORG]
Sent: 20 April 2009 16:19
To: Neil Dickinson
Subject: RE: LEEWARD CONSTRUCITON;PAYMENT APPLICATION# 17;PAGES1-20

Neil,

I will surely do that and in all probabilities, I should have the document to you by tomorrow. Thanks.
Prabhu


From: Neil Dickinson [mailto:neil@leeward.ag]
Sent: Monday1 April20 1 2009 4:13PM
To: Prabhu Marudheri
Subject: RE: l££WARD CONSTRUCTION;PAYMENT APPLiCATION# 17;PAGES1-2.0

Hi Prabhu

Plec:~se could we follow the same procedur.e as last month i..e. send me the transf.erdocument as soon .as
you have it. The funds seem to .get transferred into our ac<:ount faster once the bank know that we have



 10/10/2012
           Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page151 of 181
                         f--------                        L__
it and are waiting.

Many thanks

Kind Regards

Neil Dickinson
Managing Director.
,.LEEVIARD CONSTRUCTION COMPANY LIMITED.
All SAIN1 's ROAD, P.O.BOX 1400, ST. JoHNS, ANTIGUA
MAIL: neil@leeward.ag
OFFICE: (268) 462-0071
CELL: (268) 729-0072
FAX:    (268) 462-4868


From: McCary, Kibian [mailto:kmccary@auamed.net]
Sent: 20 April 2009 15:02
To: Prabhu Marudheri
Cc: Greenberg, Corey; Roche, Antony; neil@leeward.ag; paul@leeward.ag
Subject: LEEWARD CONSTRUCITON;PAYMENT APPLICATION# 17;PAGES1-20

Dear Prabhu,
Pleasefmd attached Payment application #17 of Leeward Construction duly passed for payment
amounting to
BCD 3,183,832.95 including ABST. Attachments would be forwarded in 9 parts.
Regards,


Miss. Kibian McCary
Construction Assistant
American University of Antigua, College of Medicine Jabberwock Rd.
P .0. Box W-1451, St. John's, Antigua
Tel: (268} 481-8916
Fax: (268} 481-8924
email:kmccary@auamed.net                                                .
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            Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page154 of 181
Alana Bartley

From:            Prabhu Marudheri [pmarudheri@AUAMED.ORG]
Sent:            Monday, June 22, 2009 8:44 AM
To:              Neil Dickinson
Cc:              Antony Roche; Corey Greenberg
Subject:         Running bill#19
Attachments: 20090622083352098.pdf
Neil,

Wire transfer has been processed for this bill and the confirmation is attached. Please let me know if
you have any questions.

Thanks

Prabhu Marudheri
Director of Institutional Development and Financial Controls
American University of Antigua
College of Medicine C/0 GCLR LLC
Desk: 212-661-8899 Extn 171
Cell: 516-369-8406
Fax: 646-514-1878
Email: pmarudheri@auamed.org



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       Main Menu> Transfers ana Payments>
       FOREIGN WIRE USING MODEL

                                  WIRE:     From Account: 9941998184 Currency: US Dollars

                                  Status:   Processed- Confirmation Number is 1730494134.

                               Wire Fee:    $20.00

                            Beneficiary                                                Bank
                        leeward Construction              Name: ABI BANK LTD.
                                                        Address: 156, REDCLIFFE ST.
                                                                 ST.JOHN'S
                                                                 Antigua and Barbuda
                                                     Intermediary PSN. 026009593
                                                           Bank: Name: BANK OF AMERICA, NA, NY
                                                                       State: New York
                                                     SWlFT/BIC: ANBIAGAG

                         Beneficiary's Account number: 300118635
                          Amount:           $596,291.25                  fSpe~lallnstructlo;ls:                                                     I
                                                                                                                                                    1
                          Date of transfer: Immediate                    i ABI Bank ltd acct#6550-6-52034 1
                                                                         ; with Bank of America
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                            Save as Model      Model Name: ~~~~Y.'(.~'?..~?.~~T~.!J.~!.!S'..~ .........._., ....... J

                            Process. another Wire




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     ONE BATTERY PARK PLAZA, 33R.D FLOOR
     NEW YORK, HY 10004

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MI'>.IN SWITCHBOARD: 1-212-661-8899



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    Phone: 1-888-282-8633 (1-888-AUA-UMED)
    Fax: 1-973-498-7707
    Email: admissions@auamed. org



STUDENT Fl NANCIAL SERVICES

    Phone: 1-877-666-9485
    Fax: 1-646-417-6220                                                                                   STUDENT BLOGS
    Email: studentfinancialservices@auamed. org



REGISTRAR
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BURSAR
      Phone: 1-800-509-4218
      Fax: 1-732-358-0200
      Email: bursar@auamed. org



CLINICAL
      Phone: 1-888-282-6002
      Fax: 1-646-390-4947
      Email: csd@auamed. org



The telephone numbers listed above are for Manipal Education Americas, LLC, Agent for American University of Antigua




MAILING ADDRESS

Manipal Education Americas, LLC, Agent for American University of Antigua
College of Medicine
Kasturba Medical College International Center
One Battery Park Plaza, 33rd Floor
New York, NY 10004

OR
American University of Antigua
University Park
Jabberwock Beach Road
PO Box W1451
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 Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page162 of 181




                                Originally from hospitality background (management trainee with A
                               the TajGroup), my natural empathy and people skills were honed
                               with every move and new experience. Working with Dr Steven
                               Covey, I soon learnt how each attribute can be a compliment to
                               company ethos and success. Coming from a very academic family,.·::
                               and not being an honors student was a challenge, but it also taug     1,',

                               me patience and achievement. My baptism by fire was to take ove'
                               recruiting for a group that represented universities in UK, Ireland,
                               and Australia. But, I was hooked and I think, I manage to bring all;.
                               these traits to the fore when talking to, counseling or just lis:teni:'
                               to the students: and parents. I am proud of the sense of comfort
                               and confidence I am able to project and convey.

   Dept   Admissions
                               Being from India, I am able to relate and understand the Indian
  Email   plwmar@auamed. ors
                               descent parents: and students and answer their concerns and
Website
                               issues. This has also meant a lot of networking with the diaspora tp''i
                                                                                                  1,,.,,
                               spread the word and create a tremendous awareness of our           ii'''
                                                                                                  :r"::
                               programs. This has led to more opportunities to help the compan1[;''~
                               grow with affiliations and branding.

                               Living in beautiful Hudson valley (god's own palette), I love being .
                               home with my almost human Boxer! shepherd mix, taffy and my s~i
                               who tolerates us both. Reading, television, especially British drarri[/i
                               friends, travel and eating out are my relaxation.

                               Having lived in many continents and travelled extensively, I am
                               comfortable meeting and interacting with folks from every strata
                               Life.

                               E-mail: pkumar@auamed. org
      Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page163 of 181




                                    I have been involved in the admissions process for over fifteen years
                                    and, at AUA, also function as the Alumni Relations Director. I
                                    earned my Bachelor of Arts Degree at Queens College. I have been
                                    V>Jith AUA since February, 2004 when we ushered in the first class:. I
                                    consider myself to be so fortunate to have spoken V>Jith our
                                    students: when they first enrolled and see them graduate and begin
                                    their residencies. I cannot think of anything better than to be
                                    involved v.Jith students: on both ends:. I have always enjoyed
                                    speaking V>Jith prospective students about their aspirations, and
                                    aiding them as they consider our program. I truly love what I do.

                                    I enjoy being at home and traveling V>Jith my V>Jife. We enjoy
                                    exploring ethnic restaurants and all of the diversity that New York
                                    City has to offer as well as hiking and enjoying the outdoors.

                                    E-mail: bgelles@auamed. org
       Name
        Dept   Admissions
                                    Phone: 1-646-834-9158
       Email   bgelles@auamed.org
     Website




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       Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page164 of 181
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                                      I have been helping students along their career path for ten years,
                                      most recently joining the American University of Antigua Admissions
                                      team in 2008 as an Associate Director of Admissions. I earned my
                                      Bachelor's degree from the College of Wooster in Communication
                                      Studies and am currently pursuing a Masters of Business
                                      Administration from Plymouth State University. I am familiar v.rith the
                                      hard work and dedication it takes to achieve a graduate degree and
                                      manage all the other aspects of life.

                                      Representing AUA in the Midwest Region has been a rewarding
                                      experience. I enjoy meeting potential students from around the
                                      world that are attending colleges and universities here, INith a
                                      common goal of becoming a doctor.

                                      Growing up in Sandusky, Ohio and enjoying outdoor activities on
                                      Lake Erie, boating became my hobby. As a current member and past
        Name
                                      president of the Wooster Ohio Exchange Club, I contribute to a
         Dept   Adminions
                                      community service organization that focuses on making the
        Email   tmon-oW@auamed. org
                                      community a better place to live through programs in Americanism,
      Website
                                      community service and youth activities. I currently reside in
                                      Poland, Ohio with my wife where together we enjoy traveling and
j,,
i:                                    the outdoors with our two sons.

                                      E-mail: tmorrow@auamed.org
·i
                                      Phone: 1-330-398-1785




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      Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page165 of 181




                                   I have been with AUA College of Medicine since 2006. Prior to AUA I
                                   was a case manager for a Mental Health care agency for three years
                                   before making the switch to higher education. I enjoy working in
                                   this dynamic field where I am able to help students pursue their
                                   dreams of becoming physicians. The position allows me to travel
                                   throughout the U.S., meeting new and interesting people every day.
                                   I have a BA in Art Therapy and more recently completed my
                                   Master's in School Counseling where I am now certified in NY state.

                                   In my spare time I am a personal trainer where I get to combine my
                                   love for fitness and helping others.

                                   E-mail: btolli@auamed. org

                                   Phone: 1-917-940-4007


        Dept   Admissions
       Email   btolli@auamed.org
,?
     Website




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•!     Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page166 of 181




                                        I have been at AUA for over 5 years, interviewing students and
                                        helping them make the exciting transition to medical school, and of
                                        course, Antigua. I hold a Master of Arts Degree in Educational
                                        Psychology. What I enjoy most about my role at AUA, is having the
                                        opportunity to meet students from all walks of life, and learn about
l                                       their unique stories and experiences that have led them to pursue
                                        the challenging, yet very rewarding field of medicine.

                                        Although I am originally from New York, I have lived in New Jersey
                                        for the past 8 years. I feel fortunate to have ''the best of both
                                        worlds", as I can enjoy all of the great things that New York City has
                                        to offer, along with the tranquility of small town living. In my spare
                                        time, I enjoy watching my beloved Yankees, trying new cuisines, and
                                        short weekend getaways throughout the tri-state area.

                                        E-mail: adejesus@auamed.org
'!.
r,
         D~pt    Admissions
                                        Phone: 1-646-834-9176
        Email    ad~j~sus@auam~d .ors

      We-bsite
     Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page167 of 181




                                       Mr. Vargas: is the Associate Director of Applicant Services.
                                       E-mail: ivargas@auamed. org
                                       Phone: 1-646-834-9148




        Dept   Adminions - Applicant
               Services
       Email   ivargas@auamed.org
     Website




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                                                        Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page168 of 181



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                                                                                                                                                       Ms. Suarez: is an Admissions Coordinator for applicants with last
                                                                                                                                                       names beginning from Athrough H.
                                                                                                                                                       E-mail: bsuarez@auamed. org
                                                                                                                                                       Phone: 1-646-834-9169




                                                               Dept
                                                                               Services
                                                             Email            bsuarez@auamed.org
                                                       Website


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 Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page169 of 181




                               Mr. Burtch is Director of Finance and Business Affairs
                               E-mail: mburtch@auamed.org
                               Phone: 1-212-661-8899, Ext. 188




   Dept   Bursar
  Email   mburtch@auamed.org
Website
      Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page170 of 181




 j
11


                                   Ms. Potter is an Assistant Bursar.
                                   E-mail: cpotter@auamed. org
                                   Phone: 1-646-834-9177




        Dept   Bursar
       Email   cpoHer@auamed.org
     Web1ite
                                             Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page171 of 181
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                   .d [J www .auamed.org/faculty'/directory/administration/all




                                                                              Mr. Schwejlih is the Collections Specialist.
                                                                              E-mail: eschwejlih@auamed. org
                                                                              Phone: 1-646-834-9185




                                               Dept   Bursar
                                              Email   eschwejlih@auamed.org
                                            Website
 Case 15-1595, Document 28-3, 06/25/2015, 1540636, Page172 of 181




                                          Ms. Alicea is the Document Specialist for New Clinical Students with
                                          last names from A - L.
                                          E-mail: jaticea@auamed. org
                                          Phone: 1-212-661-8899, Ext. 182




  Name
   Dept   Clinical Clerkship Management
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Website
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                                I have been an admissions professional since 1983, and a specialist in
                                international medical admissions since 2002. I take great pleasure
                                and pride in recommending deserving, qualified applicants for an
                                opportunity to become caring, compassionate, licensed physicians
                                in the United States. I earned my Bachelor of Arts Degree from
                                Boston College, Chestnut Hill, MA.

                                I live in Orlando, Florida, with my wife of 22 years, Kimberly, and my
                                fifteen-year old daughter.

                                We enjoy all of the great weather and activities that Central Florida
                                has to offer, and we have visited most of the major National Parks
                                and several European countries. I enjoy following politics and other
                                current events, walking and following the fortunes of my favorite
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